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Attorney for Plaintiff
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
DAVID M GRANT
Plaintiff,
v.

CITY OF FRUITLAND, a political
subdivision of the State of Idaho,
FRUITLAND CITY POLICE
DEPARTMENT, a department of the City
of Fruitland, BENJAMIN KEY, in his
individual and official capacity, J.D.
HUFF, in his individual and official
capacity, CITY OF PAYETTE, a political
subdivision of the State of Idaho,
PAYETTE POLICE DEPARTl\/IENT, a
department of the City of Payette, BEN
BRANHAl\/l, in his individual and official
capacity, DUANE HIGLEY, in his
individual and official capacity, MARK
CLARK, in his individual and official
capacity, JOHN or JANE DOE #1-10
Ernployees of the City of Fruitland, the
City of Payette, Payette County or Payette
County as a political subdivision of the
State of Idaho

Defendant.

 

Case No. 1:18-CV-00411-BLW

STIPULATION TO EXTEND
DEADLINE

 

STIPULATION TO EXTEND DEADLINE - 1

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COl\/IE NOW the parties, Plaintiff, David M. Grant, by and through his attorney of record,
Jason R.N. Monteleone of the law firm of Johnson & Monteleone, L.L.P., and Defendants, City of
Fruitland, Fruitland City Police Department, Benjamin Key, by and through their attorneys of
record, Michael J. Elia of the law firm of Moore, Elia, Kraft Hall, L.L.P., and J.D. Huff, City of
Payette, Payette Police Department, Ben Branham, Duane, Higley, and Mark Clark, by and
through their attorneys of record, Michael J. Kane, of the law firm of Michael Kane & Associates,
P.L.L.C., and hereby agree and stipulate to extend the deadlines relative to Joim‘ Litigation Plan.'
(Standard) (Dkt. 16), and this Court’s Case Managemem‘ Order (Dkt. 18), on the grounds that the
parties need additional time to evaluate Whether it is necessary to amend pleadings and join
additional parties in their respective cases, and request an extension of the deadline as follows:
l. Anieii.dmeiit of Pleadings and Joinclei' of Pai'ties: l\/lotions to amend pleadings and join
parties, except for allegations of punitive damages, shall be extended for sixty (60) days to

May 20, 2019.

DATED: This 15th day of l\/larch, 2019.
JOHNSON & MONTELEONE, L.L.P.

/s/ Jason R.N. Monteleone

Jason R.N. Monteleone

Attorneys for Plaintiff

DATED: This 15th day of March, 2019.
MOORE, ELIA, KRAFT & HALL, L.L.P.
./s/ Michael J. Elia_

Michael J. Elia
Attorneys for Fruitland Defendants

STIPULATION TO EXTEND DEADLINE - 2

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DATED: This M day of March, 2019.
MICHAEL KANE & ASSOCIATES, P.L.L.C.
/s/ Mz'chael J. Kane

l\/lichael J. Kane
Attorneys for Payette Defendants

STIPULATION TO EXTEND DEADLINE - 3

